A careful examination of the record convinces me that the parents of Marguerite Madelon Campbell have treated her with the maximum of love and affection normally extended by parents toward children. It is true that in the past misfortune affected the lives of the parents to some extent, and that for four months in 1938 it was necessary for the minor and other children of the couple to live away from home. The claims of the minor otherwise as to mistreatment by her parents seem without foundation and more or less figments of her imagination. The record discloses a noticeable tendency on her part to exaggerate her claims and dramatize her situation. *Page 122 
At no time did the parents agree or consent to anything beyond permitting their daughter to visit the Bakers for an indefinite period, during which she might continue her education. There was at no time any written or oral consent on the part of the parents that the Bakers should have permanent custody of their daughter or that either of them be designated her guardian.
It is true, they are in a position to offer more financial and material advantages than the parents, but this in itself does not govern the determination of the question here involved. I am convinced that there is no legal basis for the position taken by them here and no legal or moral grounds for depriving the parents of the custody of their daughter. However, the fact that Marguerite, now 17 years old, in her own mind is convinced that the comforts and luxuries she now enjoys are of greater importance than the love and affection of her parents and the love, comradeship, and association of her brother and sisters convinces me that no good would result in now ordering her return to her parents. For that reason, I concur in the majority opinion.
MR. JUSTICE LORING, absent because of accidental injuries, took no part in the consideration or decision of this case.